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6                             IN THE UNITED STATES DISTRICT COURT
7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
8    UNITED STATES OF AMERICA,                   )      Case №: 1:22-CR-00062-1-JLT
                                                 )
9                    Plaintiff,                  )                    ORDER
                                                 )               APPOINTING COUNSEL
10           vs.                                 )
                                                 )
11   HORACIO TORRECILLAS URIAS,                  )
     JR,                                         )
12                                               )
                     Defendant.                  )
13
14          The above named Defendant has, under oath, sworn or affirmed as to his financial
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     inability to employ counsel or has otherwise satisfied this Court that he is financially unable to
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     obtain counsel and wishes counsel be appointed to represent him. Therefore, in the interests of
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     justice and pursuant to the U.S. CONST., amend VI and 18 U.S.C. § 3006A,
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19          IT IS HEREBY ORDERED that Galatea DeLapp be appointed to represent the above

20   defendant in this case effective nunc pro tunc to March 18, 2022.

21          This appointment shall remain in effect until further order of this court.
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     IT IS SO ORDERED.
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25      Dated:     April 4, 2022                               /s/ Barbara A. McAuliffe               _
                                                        UNITED STATES MAGISTRATE JUDGE
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